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                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                        Medford Division
In re the Matter of J.P. and E.P.:
                                                   Case No.: 1:24-cv-00648-AA
ARNAUD PARIS,
               Petitioner,
                                                   RESPONDENT’S MOTION TO
       and                                         DISMISS PETITION FOR RETURN
                                                   OF CHILDREN
HEIDI MARIE BROWN,
               Respondent.

                    The Convention on the Civil Aspects of International Child Abduction,
                                     Done at the Hague on 25 Oct 1980
                      International Child Abduction Remedies Act, 22 USC § 9001 et seq.

       Respondent Heidi Brown (“Mother”), by and through her attorneys, Katelyn D.
Skinner, Katrina Seipel, and Buckley Law, PC, hereby moves this Court for an order granting
dismissal of the Petition in this matter based on the fugitive disentitlement doctrine.
                         RELEVANT FACTS AND TIMELINE
       Mother and Petitioner Arnaud Paris (“Father”) are former domestic partners and the
biological parents of twin girls, E   and J        , age 9. Throughout the girls’ childhood, the




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family frequently moved back and forth between the United States and France. A recent,
relevant timeline follows:

   • July 29, 2022: Mother and the children permanently relocate from Paris, France to
     Ashland, Oregon. Father consents.
   • October 7, 2022: Mother files a Petition for Custody, Parenting Time, and Child
     Support, as well as Dissolution of Domestic Partnership, in Oregon State Court for
     Jackson County, case number 22DR17285.
   • October 7, 2022: A French court accepts Father’s Custody Petition.
   • October 11, 2022: A Temporary Protective Order of Restraint (“TPOR”) is issued in
     the Oregon State case, Exhibit 1, fixing the children’s residence in Ashland, Oregon
     and prohibiting the parties from removing the children from Oregon without the
     other party’s consent or permission from the court.
   • October 20, 2022: Father files Hague Convention Petition in District Court of
     Oregon, Medford Division, seeking return of the children to France.
   • December 7, 2022: Following trial, Honorable District Court Judge Michael McShane
     dismisses Father’s Hague Convention Petition, Exhibit 2.
   • January 6, 2023: Father appeals Judge McShane’s dismissal of his Petition.
   • January 30, 2023: Father dismisses his appeal.
   • March 31, 2023: Father, Father’s French counsel, and Mother’s French counsel appear
     for a hearing in the French court. Believing that the hearing is regarding jurisdiction
     only, Mother does not appear.
   • April 21, 2023: A French court grants the parties joint custody of their children.
   • May 9, 2023: Father attempts to register the French judgment in Oregon State Court
     for Jackson County, case number 23DR08269.
   • May 30, 2023: Father submits a Petition to the Oregon Supreme Court to vacate the
     TPOR.
   • July 11, 2023: The Oregon Supreme Court denies Father’s Petition to vacate the
     TPOR. Subsequently, the court denied Father’s Motion for Reconsideration, and a
     final Appellate Judgment was entered into the appellate court record on February 1,
     2024. See Exhibit 3.
   • July 12, 13, 18, and 20, 2023: A hearing is held in Jackson County Circuit Court on
     Father’s request to register the French judgment and dismiss the Oregon case, and on
     Mother request for Oregon to assert jurisdiction. The Court recesses on July 18 just as
     Father’s cross-examination begins. When the Court is unavailable on July 20, the
     hearing is continued to August 3, 2023.
   • July 22-23, 2023: Despite the Oregon Supreme Court upholding the TPOR, Father
     abducts the children from Oregon to San Francisco, California, and he proceeds to
     take them back to France.




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   • August 18, 2023: Honorable Jackson County Circuit Court Judge David J. Orr
     determines that France has no jurisdiction and declines to confirm the registration of
     the French judgment, Exhibit 4.
   • November 14, 2023: Mother files a Motion for Remedial Contempt against Father,
     case number 23CN05721, for Father’s failure to abide by the TPOR by removing the
     children from Oregon without her consent or the court’s permission.
   • December 28, 2023: Limited Judgment Regarding Custody, Parenting Time, and
     Child Support is issued, Exhibit 5, granting Mother sole legal custody of the parties’
     children, subject to Father’s parenting time. Father is stripped of his ORS 107.154
     rights, the rights generally granted to non-custodial parents under Oregon law.
   • March 7, 2024: Father fails to appear at hearing on Mother’s Motion for Remedial
     Contempt. A warrant is issued for Father’s arrest. The warrant remains outstanding.
   • April 10, 2024: Mother and the children leave France and return to the United States.
   • April 16, 2024: Father files this underlying Hague Convention matter against Mother.
   • April 24, 2024: General Judgment of Default; and Money Awards, regarding the
     Dissolution of Domestic Partnership is entered, Exhibit 6, incorporating in full the
     Limited Judgment Regarding Custody, Parenting Time, and Child Support.
       As evidenced by this timeline, the parties have been in the throes of litigation
pertaining to custody of their children since summer of 2022. While different jurisdictions
have issued differing judgments regarding custody of the children, the end of this litigation
appears to be nowhere in sight. In any event, Father now seeks the protection of the United
States District Courts through a Hague Convention matter, but he should not be permitted
to use the courts to his advantage when he refuses to obey court orders when such orders
disadvantage him. Put another way, the fugitive disentitlement doctrine prohibits Father
from bringing this action, and his Petition must immediately be dismissed.
                                        ARGUMENT
       The fugitive disentitlement doctrine grants district courts the power to enter
judgment against parties on the basis of their fugitive status. Ener v. Martin, 379 F. Supp. 3d
1377, 1381 (S.D. Fla. 2019), aff’d, 987 F.3d 1328 (11th Cir. 2021). It has been explained that
the doctrine, based in equity, rests upon the power of the courts to administer the federal
courts system. Pesin v. Rodriguez, 244 F.3d 1250, 1252-53 (11th Cir. 2001). The Eleventh
Circuit, in Pesin, made clear that while the “classic case” involving the fugitive disentitlement


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doctrine is a criminal defendant’s appeal, the doctrine may also be applied to a civil litigant
who ignores court orders and evades arrest. Id. at 1253. The rationale of the fugitive
disentitlement doctrine includes “the difficulty of enforcement against one not willing to
subject himself to the court’s authority; the inequity of allowing a fugitive to use court
resources only if the outcome is an aid to him; and the need to avoid prejudice to the
nonfugitive party.” F.D.I.C. v. Pharaon, 178 F.3d 1159, 1162 (11th Cir. 1999). Additionally,
practical considerations should inform a court’s dismissal of a matter pursuant to the fugitive
disentitlement doctrine, such as sanctioning for mistakes, omissions, or misconduct. Sarlund
v. Anderson, 205 F.3d 973, 974 (7th Cir. 2000).
       The facts of Pesin v. Rodriguez are instructive. 244 F.3d 1250 (11th Cir. 2001). In Pesin,
the father filed a petition for return of the parties’ children to Venezuela after the mother
retained the children in Florida. Id. at 1252. The District Court granted the father’s petition
and ordered the mother to return the children to Venezuela within 10 days. Id. She failed to
do so. Id. The District Court, upon being notified of the circumstances by the father,
scheduled a status conference. Id. The mother failed to appear. Id. The District Court then
issued an order to show cause why the mother should not be held in contempt and
scheduled another hearing. Id. The mother failed to appear once again. Id. Thus, she was
found in contempt and a bench warrant was issued for her arrest. Id. Then, “[d]espite failing
to end her contumacious conduct or submit to the court’s authority,” the mother appealed
the District Court’s decision granting the father’s petition. Id. In dismissing the mother’s
appeal pursuant to the fugitive disentitlement doctrine, the Eleventh Circuit stated:

       “[The mother] has repeatedly defied court orders and ignored contempt
       sanctions and has continued to evade arrest. Her behavior to date leaves little
       doubt that she would defy an adverse ruling. Moreover, it would be inequitable
       to allow [the mother] to use the resources of the courts only if the outcome is a
       benefit to her. We cannot permit [the mother] to reap the benefits of a judicial
       system the orders of which she has continued to flaunt.”



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       The fugitive disentitlement doctrine was also considered in a Hague Convention
matter in Walsh v. Walsh, 221 F.3d 204 (1st Cir. 2000). In Walsh, the mother removed the
children from Ireland to the United States, whereby the father petitioned the District Court
for return of the children pursuant to the Hague Convention. Id. at 211-12. The District
Court declined to apply the fugitive disentitlement doctrine to the case and dismiss the
father’s Hague Convention petition because there was no nexus between the father’s fugitive
status and the petition, and the father had not yet been convicted. Id. at 214. Notably, the
father had a warrant out for his arrest for an entirely unrelated matter whereby he was
charged with attempting to break and enter and threatening to kill another person. Id. at 209.
In affirming the District Court’s decision declining to apply the fugitive disentitlement
doctrine to the case, the First Circuit discussed the only connection between the father’s
fugitive status and the Hague Convention matter being that the father fled the United States
after being charged criminally and the mother, pregnant at the time, followed him to Ireland
to give birth, thus permitting the father to utilize the Hague Convention when the mother
removed the children from the country. Id. at 215. “That, though, may be too slim a reed to
support so weighty a doctrine.” Id.
       The Court in Walsh additionally upheld the lower court’s ruling based on the severity
of the fugitive disentitlement doctrine. Id. at 216. However, while noting that the sanction of
dismissal is harsh, the Court specified that it may not be too harsh when a party’s fugitive
status has impaired the rights of the other parent.” Id.
       Ultimately, the Court in Walsh held that “the dismissal of a civil action on fugitive
disentitlement grounds requires that (1) the plaintiff is a fugitive; (2) his fugitive status has a
connection to his civil action; and (3) the sanction employed by the district court, dismissal,
is necessary to effectuate the concerns underlying the fugitive disentitlement doctrine.” Id. at




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215, citing Magluta v. Samples, 162 F.3d 662, 664 (11th Cir. 1998). “[A]n appreciation of the
pragmatic concerns requires a case-by-case analysis.” Walsh, at 215.
       This Court may also look to Sasson v. Shenhar, 276 Va. 611 (2008) for guidance in
analyzing and applying the fugitive disentitlement doctrine in a Hague Convention matter. In
Sasson, the parties and their single child lived in Spain when the mother and the child left the
country and came to the United States. Id. at 617. Thereafter, the Father filed for a divorce
from the mother in a Spanish court, and he filed a request with the Spanish Central
Authority for an order directing that the child be returned to Spain. Id. at 617-18. Then, the
father filed a Hague petition in a Virginia Juvenile and Domestic Relations court (“J & DR
court”), as well as a motion to enforce a Spanish custody order granting him custody of the
child. Id. at 618. The mother also filed her own motion in the Virginia Circuit Court,
whereby she was granted temporary legal custody of the child. Id. Pending hearing, the J &
DR court issued an order granting physical custody of the child to the father, but the father
was ordered not to remove the child from the state. Id.
       While the J & DR court eventually granted the father’s Hague petition, the mother
appealed de novo to the Virginia Circuit Court, and the Circuit Court found in her favor. Id.
at 619. Despite that ruling, though, and despite the continued order prohibiting the child’s
removal from the state, the father returned with the child to Spain. Id. at 620. Upon learning
of the father’s disobedience, the Court entered an additional order directing the father to
immediately return the child. Id. When the father did not do so, the mother filed a contempt
action against him. Id. The father failed to appear at the contempt hearing, whereupon the
Court issued a capias for his arrest. Id. at 621. The father subsequently asked for
reconsideration. Id. When his request was denied, he appealed the contempt order, the denial
of his Hague petition by the Circuit Court, and the order directing him to return the child to
the United States. Id.



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       The Court of Appeals granted the mother’s motion to dismiss the father’s appeals
based on the fugitive disentitlement doctrine. Id. at 622. The Court considered how courts of
appeals have consistently applied the fugitive disentitlement doctrine as a sanction, as a
means to protect courts against those who would abuse the judicial process. Id. (citations
omitted). “Accordingly, … the Fugitive Disentitlement Doctrine may be applied in
appropriate cases whenever a court … in the exercise of sound judicial discretion deems it
necessary to protect the dignity and power of the court from abuse by a litigant.” Id. at 623.
       The father put forth arguments that the fugitive disentitlement doctrine should not
have been applied because the J & DR court did not have jurisdiction to enter the orders at
issue, and so the mother’s contempt case against him and his subsequent failure to appear at
court are void. Id. at 624. However, the Court underscored that, when a party believes an
order is incorrect or void, the appropriate action to take is to appeal that order, while still
submitting to the court’s jurisdiction. Id. “A dissatisfied litigant should challenge the
correctness of an adverse judgment or ruling by an appeal and not by disobedience of such
order or by interfering with or obstructing the judicial processes. Id. (citations omitted).
       In considering the requirements of the fugitive disentitlement doctrine laid out in
Walsh and the policy concerns underlying the doctrine, the Court made very clear that, by
wrongfully taking the child to Spain in violation of a court order, the father deliberately
interfered with the mother’s parental rights, and there was no question whether there was a
sufficient nexus between the father’s fugitive status and the underlying matter. Id. at 627.
Further, where the father made evident he would not submit to the jurisdiction of Virginia’s
courts unless he were to receive a judgment in his favor, dismissal of the father’s appeals
would further the goals of the fugitive disentitlement doctrine by “discouraging flight from
justice, encouraging compliance with court orders, and promoting the efficient, dignified
operation of the courts.” Id. at 627-28.



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       It would only be proper in the instant matter for this Court to apply the fugitive
disentitlement doctrine and dismiss Father’s Petition in its entirety. Pursuant to Article 1(b)
of the Hague Convention, the objects of the Convention include ensuring “that rights of
custody and of access under the law of one Contracting State are effectively respected in the
other Contracting States.” As is clear from the parties’ extensive litigation detailed above,
Father does not respect Oregon law and Oregon legal decisions pertaining to the children.
Yet, he files this Petition under the Convention and asks the Court to respect French law
and a French judgment, failing to even mention that an Oregon state court previously held
that France did not have jurisdiction to enter the very judgment he wants this Court to give
respect to. Father does not get to disregard court orders when they disadvantage him and, at
the same time, utilize the court system when it may benefit him.
       Father’s conduct in this regard is incredulous. First, Father lost his prior Hague
Convention matter against Mother in December 2022, and he dismissed his appeal of the
matter. Then, not liking the orders of the TPOR fixing the children’s residence in Ashland,
Oregon and prohibiting the parties from removing the children from Oregon without the
other party’s consent or permission from the court, Father sought Supreme Court review.
Upon the Oregon Supreme Court upholding the TPOR, just 11 days later, Father,
figuratively speaking, gave the Supreme Court the middle finger and took the children out of
Oregon and back to France. There could not be a more onerous sign of disrespect of and
disregard for Oregon law.
       Furthermore, in abducting the children, Father misrepresented the status of the case
to French Consular authorities, as well as Customs and Border Patrol. Father’s lies are
evidenced in Exhibit 7, a letter from the French Consulate, and Exhibit 8, an email sent by
Father to the French Consulate displaying how he misinformed the authorities regarding the
status of the TPOR.



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       On November 14, 2023, after Father abducted the children, a hearing was held in
Jackson County Circuit Court in the parties’ dissolution matter. A relevant portion of
Exhibit 9, a partial transcript of that hearing, follows:

       THE COURT:
                All right. So – yeah. A few things to note here, comments to you and just for
       the record in general.
                So you probably recall that, at the time that we were litigating the motion to
       dismiss, there was a status quo order that prohibited you from removing the children
       in question from this state. You disagreed with that, and you brought it before the
       court, and you and your attorney argued that the status quo should not be ordered
       and that you should be allowed to remove the children from the state. That motion
       was heard, the arguments were heard, and the court said, “No. That status quo order
       remains in place at least while this hearing on the motion to dismiss is pending.”
                During the course of that motion to dismiss that went over several
       nonconsecutive days, you, at one point, suddenly disappeared. You took the children
       in violation of the court’s order out of the state and out of the United States and are
       still holding them right now as we speak.
                So I told you as we continued the hearing, after you had removed these
       children contrary to the court’s order, I told you you would be allowed to sit in and
       listen – just like if you were local here, you could come in and sit in the audience –
       but you were not to participate. And that is because it would make no sense to me or
       to any court, I don’t believe, when you are in flagrant violation of basically the most
       fundamental order that’s in place right now, and that is, where are these children
       going to be?
                When you are in flagrant violation of that order, you are not going to come
       back in to court and continue to litigate about where these kids should be or where
       they shouldn’t be or what’s going to happen with these children, absolutely not.
                The court is not – this is basically – you’re asking –

       MR. PARIS:
            So it was a section –

       THE COURT:
              Be quiet right now. This is as though you are asking the Court to negotiate
       with hostage-takers. This is what this looks like. You are now holding these children
       criminally. It doesn’t matter to me whether you were charged criminally or not. You
       have violated a criminal statute –

       MR. PARIS:
            Sir, I am in France –



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     THE COURT:
          Be quiet, sir.

     MR. PARIS:
          I’m in France, Your Honor.

     THE COURT:
              Be quiet, sir. You have violated a criminal statute, and it’s a felony. You’re
     holding these children contrary to the court’s order, and you want to continue to
     litigate? I don’t understand. So in your motions, your subsequent motions to dismiss,
     which you filed – 13, 14 – you’re asking – if you think about the lack of logic here,
     you’re asking – a motion is asking for an order. That’s what a motion is. A motion is
     asking for a court order.
              I don’t know what court orders mean to you or why you would be asking for
     them since you seem to just do whatever you want, and you flagrantly disobey court
     orders. This is extremely unacceptable.
              And, you know, I’ve seen different people violate different court orders at
     different times but when it comes to children and unlawful taking of children,
     removing them from a county against a court order, and then you want to continue
     to hold them over there, and now you have them overseas, and you want to litigate
     this case?
              So understand this, all your motions that you filed subsequent to removing the
     children – and “removing” is a kind word; the more accurate word is “abducting.” All
     the motions that you filed –

     MR. PARIS:
          Objection.

     THE COURT:
            -- are not going to be considered. You do not – there’s no objecting right
     now. You can object at the end, and you can record whatever objections you want.
     You are not to interrupt me. So all the motions you filed are simply senseless to me.
     They are not going to be considered. All you can do at this point with regards to any
     kind of litigation involving what’s going to happen with these children is listen in.
            Today, I am allowing you to participate in this hearing because it’s not about
     what’s going to happen with the children; it’s about if and how much attorney fees
     you are going to have to pay. That it seemed to me appropriate that you should be
     allowed to participate in and give your input, make your legal arguments, present
     evidence if you have any. That’s appropriate.
            As to anything regarding these children, no. The Court is not going to be –
     you’re not going to make a mockery of the Court. Abducting the children and then
     continuing to litigate the case about your children while you’ve taken them against a
     court order that you were fully aware of because you were arguing against it. And you



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        heard me tell you, “You can’t remove these children from Oregon,” and you did so,
        and you’re still holding them.
        Then, on December 21, 2023, the Oregon state court stated that Father remains “in
flagrant, willful, contemptuous violation of the Court’s orders,” and it issued an order for
Father to return the children to Oregon, see Exhibit 10. Of course, Father ignored this
order. On December 28, 2023, in issuing its General Judgment of Default granting Mother
sole legal custody of the children, the Court concluded, once again, that Father’s actions are
criminal, see page 6, paragraph (8) of Exhibit 6.
        Moreover, upon Mother attempting to hold Father accountable for his conduct
through a remedial contempt action, Father refused to appear in person for a hearing after
being ordered multiple times to do so (see Exhibits 11 and 12), and so a bench warrant was
issued for Father’s arrest. The warrant is valid in all 50 states and remains outstanding.
Father has full knowledge of the arrest warrant as per his own pleadings (see Docket 7,
pages 4 – 5, paragraph 9, Father’s Emergency Motion for Unsupervised and Direct Communication
with Father).
        Because Father has proved nothing other than that he believes he is outside the reach
of Oregon law and that he would likely ignore an unfavorable result in this matter, Mother
respectfully requests that Father’s Petition be dismissed immediately pursuant to the fugitive
disentitlement doctrine. Where the fugitive disentitlement doctrine is an equitable one, it is
simply not equitable to even let Father argue that he is entitled to relief in this Court, when
he refuses to avail himself of the Oregon state court system, whereby Mother would be
entitled to relief to Father’s detriment. The fugitive disentitlement doctrine can and should
be applied to this civil litigant, Father, who continues to ignore court orders and evade arrest
for his misconduct.
        In Pesin, application of the doctrine was proper, when the party against whom the
doctrine was applied disobeyed a court order (to return the children) and failed to appear at



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two separate hearings after being ordered to do so. In dismissing the party’s case, stated for a
second time here, the Court wrote:

       “[The mother] has repeatedly defied court orders and ignored contempt
       sanctions and has continued to evade arrest. Her behavior to date leaves little
       doubt that she would defy an adverse ruling. Moreover, it would be inequitable
       to allow [the mother] to use the resources of the courts only if the outcome is a
       benefit to her. We cannot permit [the mother] to reap the benefits of a judicial
       system the orders of which she has continued to flaunt.”
       In the instant matter, Father disobeyed the Circuit Court’s order in the TPOR
prohibiting the parties from removing the children from Oregon without the other party’s
consent or permission from the court. He disobeyed the Oregon Supreme Court just 11 days
after the Court affirmed the TPOR’s conditions. He lied to authorities to get the children
out of the country. He blatantly disregarded the Court’s December 21, 2023 order to return
the children to Oregon. Then, in the remedial contempt matter pertaining to this very
conduct, after the Court denied his motion to disqualify Judge Orr (the judge who found
that France did not have jurisdiction to enter a custody order), denied his motion to stay the
case, denied his motion to continue the case on two occasions, denied his motion to appear
remotely on two occasions, and ordered him to appear in person on two occasions, Father
failed to appear for court.
       In comparison to Pesin, Father in this case has repeatedly defied court orders and
ignored contempt sanctions. He has continued to evade arrest. His behavior to date leaves
little doubt that he would defy an adverse ruling. It would be inequitable to allow Father to
use the resources of this Court only if the outcome is a benefit to him. This Court should,
thus, not permit Father to reap the benefits of a judicial system the orders of which he has
continued to flaunt.
       Contrary to the situation in Walsh, Father’s fugitive status and the Petition in this
matter are inextricably intertwined, undoubtedly supporting application of the fugitive



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disentitlement doctrine. While, admittedly, the Court in Walsh cautioned that the result of
the fugitive disentitlement doctrine, dismissal, is harsh, the Court also identified that
application may be proper when a party’s fugitive status has impaired the rights of the other
parent. Father has fugitive status right now because, after abducting the children, he refuses
to return to the States and take responsibility for his actions. Father ripped the parties two
young children from their home and their mother in Oregon, depriving Mother of her
custodial and parenting rights. Additionally, Mother has a right to hold Father accountable
for his conduct by way of a remedial contempt. By failing to surrender to the remedial
contempt matter, Father continues to deprive Mother of this right.
       The Walsh court set forth three requirements for dismissal of a civil action on fugitive
disentitlement grounds, and all three requirements are satisfied in this matter. First, the
plaintiff must be a fugitive. There is no disputing that Father is a fugitive, having a warrant
out for his arrest in all 50 states. Second, there must be a connection between Father’s
fugitive status and the civil action. Again, there is no disputing this requirement is fulfilled.
Last, a dismissal must be necessary to effectuate the underlying concerns of the fugitive
disentitlement doctrine, analyzed on a case-by-case basis.
       First and foremost, Father has made clear that he will accept a ruling of a court of
this state only if it is to his advantage. He has proved that, if this Court rules in Mother’s
favor, Father will simply ignore the ruling. This Court should not waste its time and
resources when such a result would occur. Second, this matter moving forward while Father
remains a fugitive would unduly prejudice Mother. While this case has the potential, albeit
slim, to harm Mother and remove the children from her care, Mother does not get to use the
legal system to help her, when it may harm Father, while he remains at large, plainly
prejudicing her. Last, and perhaps most importantly, Father has engaged in significant
misconduct. Not only did he abduct the children from Oregon and take them to France in



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violation of a TPOR, but he has, since then, only continued to disobey court orders and
evade arrest. Additionally, he omitted, one can only assume intentionally, many of the
relevant facts and orders pertaining to the issues of this case in his Petition.
       In Sasson, with facts substantially similar to the facts of this case, application of the
fugitive disentitlement doctrine was proper. In Sasson, the father had a Spanish court decision
granting him custody rights to the child. Here, Father has a French court decision granting
him custody rights to the children. In Sasson, the mother had a temporary order out of a
United States court granting her custody of the child. Here, Mother has a final order out of a
United States court granting her custody of the children. She also has an order out of a
United States court declaring that the French custodial order is void for lack of jurisdiction.
In Sasson, the father lost his Hague case. Here, Father lost his initial Hague case. In Sasson,
there was a valid court order prohibiting removal of the child from Virginia. Here, there is a
valid court order, upheld by the State’s highest court, prohibiting removal of the children
from Oregon. In Sasson, the father disobeyed the order. Here, Father disobeyed the order. In
Sasson, after learning of the abduction, the court ordered the father to return the child. Here,
after learning of the abduction, the court ordered Father to return the children. In Sasson,
when the father did not return the child, the mother filed a contempt action against him.
Here, when Father did not return the children, Mother filed a contempt action against him.
In Sasson, when the father failed to appear at the hearing regarding his contempt, the court
issued a capias for his arrest. Here, when Father failed to appear at the hearing regarding his
contempt, the court issued a warrant for his arrest.
       Following the above, in Sasson, the father’s attempted continued litigation in the
States was dismissed, as the fugitive entitlement doctrine applied precisely to the situation.
Here, Father’s attempted continued litigation in a United States District Court should also be
dismissed, as this particular situation mirrors the one in Sasson. Additionally, what is



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particularly severe about the case at hand is that Father lawfully attempted to challenge the
TPOR prohibiting the children’s removal from Oregon, but when he lost, just days later, he
cast the decision of highest court of this State aside and abducted the children.
       As in Sasson, when Father in this matter took the children to France in violation of
the TPOR, a valid court order upheld by the Oregon Supreme Court, Father intentionally
interfered with Mother’s parental rights, whereby the connection between Father’s fugitive
status and this case is direct and undeniable. Where Father has done nothing in the courts of
the United States other than prove he will not submit to jurisdiction unless it is favorable to
him, dismissal of this case is necessary and will only protect the underlying concerns of the
fugitive disentitlement doctrine by discouraging flight from justice, encouraging compliance
with court orders, and promoting the efficient, dignified operation of the courts.
       As such, this Court must dismiss Father’s Petition pursuant to the fugitive
disentitlement doctrine. To do otherwise would be inequitable and unjust. The Hague
Convention on the Civil Aspects of International Child Abduction was not developed for
the purpose Father seems to be using it: forum shopping. Where the Convention holds that
“the interests of children are of paramount importance in matters relating to their custody,”
and an Oregon state court has already determined custody of and parenting time with the
children, but only after holding that the French court does not have jurisdiction over the
matter, Father’s Petition flouts the entire purpose of the Convention. This Court cannot
stand for such a vexatious litigant.
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                                       CONCLUSION
       For the foregoing reasons and pursuant to the fugitive disentitlement doctrine,
Mother respectfully requests that this Court dismiss Father’s Petition in its entirety.
Respectfully submitted this 28th day of May, 2024.




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                                CERTIFICATE OF SERVICE
       I certify that this document was served by e-mail and first-class U.S. mail upon
Petitioner Arnaud Paris, to arnaud@skyvr.com, and to his last known address of 13 rue
Ferdinand Duval, 75004, Paris, France on this 28th day of May, 2024.




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